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Interstate Inmate Calling Servs. I, 28 FCC Red. At 14130.

©” The FCC defines “Ancillary Charges” as “fees charged to ICS end users [anyone who pays for

and uses inmate calling services] such as, but not limited to, a charge for the establishment of debit
and prepaid accounts for inmates in facilities served by the ICS provider or those inmates’ called
parties; a charge to add money to those established debit or prepaid accounts; a charge to close
debit or prepaid accounts and refund any outstanding balance; a charge to send paper statements to
ICS end users; a charge to send calls to wireless numbers; fees characterized as “regulatory
recovery fees,” penalty charges assessed on the account for perceived three-way calling or other
perceived violations of the security provisions mandated by the correctional facility; and other
charges ancillary to the provision of communication services.” See
https://apps.fcc.gov/edocs _public/attachmatch/DOC-327664A | .pdfhttps://apps. fec.gov/edocs ; pu
blic/attachmatch/DOC-327664A | .pdf (last visited Dec. 20, 2016); see also 47 C.F.R. § 64.6000
(defining “Ancillary Charges”),

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~~», 1998) (finding that inmate telephone rates “must conform to the just and reasonable requirements
of Section 201”).

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